              Case 4:09-cr-40069-NJR                     Document 314 Filed 04/20/10                    Page 1 of 7          Page ID
A0245B        (Rev. 09/08) Judgment in a Criminal Case             #718
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois
                                                                          )
             UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                                                                          )
                 MARZEAL M. MARSHALL                                             Case Number:            3 :09CR40069-008-GPM
                                                                          )
                                                                          )      USMNumber:              08240-025
                                                                          )
                                                                          )      Rodney Holmes
                                                                                 Defendant's Attorney
THE DEFENDANT:
.!!1 pleaded guilty to count(s)        I, 22-25 of the Indictment
                                                                                                                     Q.
Q pleaded nolo contendere to count(s)
   which was accepted hy the court.
Q was found guilty on count( s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
21 USC 841(a)(I), 846,            Consp. to distribute crack cocaine                                          9/3012009                   I
841(b)(I)(A)
21 USC 841(a)(I),                 Distribution ofless thao 5 grams of crack cocaine                            7/30/2009                 22-25
 (B)(I)(C)


       The defendant is sentenced as provided in pages 2 through           _ _7___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
Q The defendant has been found not guilty on count(s)

Q Count(s)     --------------------
                                                           o IS     D are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of aoy change of name, residence,
or mailing address until all fines, restitution, costs, aod special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court aod United States attorney of material changes in econonuc circumstances.

                                                                          April 19, 2010




                                                                          Hg!l,Q-Xa!Iick MllIJ'llY, U. S. District Judge
                                                                          Name and Title of Judge
                Case 4:09-cr-40069-NJR                     Document 314 Filed 04/20/10                    Page 2 of 7           Page ID
AD 245B       (Rev. 09/08) Judgment in Criminal Case                 #719
              Sheet 2 -Imprisonment
                                                                                                           Judgment -   Page __.__ ~____ of
DEFENDANT:                         MARZEAL M. MARSHALL
CASE NUMBER:                       3 :09CR40069-008-GPM


                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:

262 TOTAL MONTHS ON COUNT(S) 1,22-25. This tenn consists of262 months on Ct. 1, and 240 months on Cts. 22-25. I8J ALL COUNTS TO
RUN CONCURRENT WITH EACH OTHER



    ~     The court makes the following recommendations to the Bureau of Prisons:

          That defendant be housed as close to home as possible.
          That defendant be afforded the opportunity to participate in the intensive drug treatment program.


    ~     The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:
          o     at                                     o   a.m.    Q   p.m.     on
          o     as notified by the United States Marshal.

    S     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o     before 2 p.m. on

          o     as notified by the United States MarshaL

          o     as notified by the Probation or Pretrial Services Office.


                                                                        RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                                to

a                                         _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                              By
                                                                                                     DEPUTY UNITED STATES MARSHAL
                 Case 4:09-cr-40069-NJR                      Document 314 Filed 04/20/10                          Page 3 of 7             Page ID
AD 2458        (Rev. 09108) Judgment in a Criminal Case                #720
               Sheet 3 - Supervised Release
                                                                                                                      Judgment    Page __3__ of
DEFENDANT:                      MARZEAL M. MARSHALL
CASE NUMBER:                    3:09CR40069·008·GPM
                                                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 TOTAL YEARS ON COUNT(S) 1, 22-25. This term consists of 5 years on Ct. 1, and 3 years on Cts. 22-25. I8l ALL COUNTS TO RUN
 CONCURRENT WITH EACH OTHER.

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of
 the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
 defendant shall submit to one drug fest within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
 court, not to exceed 52 tests in one year.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
 o        future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the r~quirements of the Sex Offender R~gistr,ation and N:otific!'ltion Act (42 U.~.c. § 16901., et seq.) as directed by
 o        the probation office~ the Bureau ofPnsons, or any state sex offender reglstratton agency In which he or she reSides, works, IS a stucent, or was
          convicted of a qualiIying offense. (Check. if applicable.)

 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
 Payments sheet oftnisjudgment.
              The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant, s~all not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
            granted permISSion to do so by the probatton officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
  11 )      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
            court; and

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal,hist~ry or ch~acteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
            such nottficatIon reqUIrement.
           Case 4:09-cr-40069-NJR                    Document 314 Filed 04/20/10        Page 4 of 7           Page ID
AO 245B   (Rev. 09/08) Judgment in a Criminal Case             #721
          Sheet 3C - Supervised Release
                                                                                            Judgment   Page   _ i _ of
DEFENDANT:               MARZEAL M. MARSHALL
CASE NUMBER:             3:09CR40069-008-GPM

                                        SPECIAL CONDITIONS OF SUPERVISION
Defendant shall pay any financial penalty that is imposed by this Judgment and that remains unpaid at the time of supervised
release, or during the term of probation.
Defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office with
access to any requested financial information. Defendant is advised that the probation office may share financial information
with the Financial Litigation Unit.
Defendant shall apply aH monies received from income tax refunds, lottery winnings, judgments andlor any other anticipated
or unexpected financIal gains to the outstanding court ordered financial ol:iligation. Defendant shall immediately notify the
probation officer of the receipt of any indicated monies.
Defendant shallparticipate as directed and approved by the probation officer in an evaluation and treatment, if
recommended, tor narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures, not to exceed 52 tests in a one-year period, as directed by the probation officer, and which may require
residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from aH
alcoholic beverages. Defendant shaH pay for the costs associated wltli substance abuse counseling andlor testing based on a
co-pay sliding fee scale approved by the Probation Office. Co-pay shaH never exceed the total costs of counselmg.
Defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search, conducted by
the United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of supervision. Failure to submit to a search may be grounds for
revocation. The defendant shaH inform any other residents that the premises may be subject to a search pursuant to this
condition.
                Case 4:09-cr-40069-NJR                         Document 314 Filed 04/20/10                          Page 5 of 7       Page ID
AO 245B       (Rev. 09/08) Judgment in a Criminal Case                   #722
              Sheet 5 - Criminal Monetary Penalties
                                                                                                                Judgment - Page _-,,5_ _   of
DEFENDANT:                            MARZEAL M. MARSHALL
CASE NUMBER:                          3:09CR40069-008-GPM
                                                  CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                                Fine                                  Restitution
 TOTALS               $ 500                                                    S 500                                  S 0


 e      The determination of restitution is deferred until _ _ _ . An Amended Judgment in a Criminal Case (AG 245C) will be entered
        after such determination.

 e      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        Ifthe de~endant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the prionty order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal VICtuns must be paId
        before the United States is paId.

 Name or Payee                                     Total Loss'                            Restitution Ordered                     Priority or Percentage




 TOTALS                                 $                             $0.00            $ ____________~$O~.O~O~


 e       Restitution amount ordered pursuant to plea agreement $

 e       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g) .

 .!!.    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         !.   the interest requirement is waived for the             !.fine      .Q restitution.

         9.   the interest requirement for the           .9.   fme    9.      restitution is modified as follows:



 • Findings for the total amount oflosses are required under Chapters 109A, 110, I lOA, and 113A of Title 18 for offenses committed on or after
 Septemoer 13, 1994, but before April23, 1996.
          Case 4:09-cr-40069-NJR                     Document 314 Filed 04/20/10        Page 6 of 7        Page ID
AO 245B   (Rev. 09/08) Judgment in a Criminal Case             #723
          Sheet 5A ~ Criminal Monetary Penalties
                                                                                           Judgment~Page   ___6 _ of
DEFENDANT:                MARZEAL M. MARSHALL
CASE NUMBER:              3:09CR40069-00S-GPM

                   ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES


All financial penalties are payable through the Clerk of the District Court, 750 Missouri Ave., E. st. Louis, IL 62201.
AO 2458
                 Case 4:09-cr-40069-NJR
             (Rev. 09/08) Judgment in a Criminal Case
                                                         Document 314 Filed 04/20/10                   Page 7 of 7           Page ID
             Sheet 6   Schedule of Payments                        #724
                                                                                                         Judgment -   Page    7
                                                                                                                             ---
                                                                                                                                     of

DEFENDANT:                    MARZEAL M. MARSHALL
CASE NUMBER:                  3 :09CR40069-008-GPM

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    0      Lump sum payment of $                             due inunediately, balance due

             o     not later than                                  , or
             o     in accordance           o    C,      Q D,   o     E, or     Q Fbelow; or

 B    IIlI   Payment to begin immediately (may be combined with              o C,     IIlI   D,   Q    F below); or

 C    0      Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $...           over a period of
                          (e.g., months or years), to commence ___ ._ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D    IIlI   Payment in equal _ . monthly        (e.g., weekly, monthly, quarterly) installments of $ \00         .. over a period of
               months     (e.g., months or years), to commence __..3_0_ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E    0      Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    0      Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cruninal monetary penalties, except ihose payments made through the Federal Bureau of Prisons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 o    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount
      and corresponding payee, if appropriate.                                                                               '




 o    The defendant shall pay the cost of prosecution.

 o    The defendant shall pay the following court cost(s):

 o    The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order: (1) ~ssessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fme mterest, (6) commuruty resolUtIOn, (7) penaloes, and (8) costs, mcludmg cost of prosecution and court costs.
